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                  Jackson County district attorney alleges judicial
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                  District Attorney Beth Heckert in her Medford office. Rogue Valley Times file photo

                 April 27, 2024


                  Beth Heckert says Presiding Judge Benjamin Bloom
                  inappropriately reinstated Judge David Orr's ability to hear
                  criminal and juvenile cases
                    By Kevin Opsahl (https://www.rv-times.com/users/profile/Kevin%200psahl), Rogue Valley Times (https://
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                  Jackson County District Attorney Beth Heckert asked Monday for a statewide commission to review the
                  conduct of two county judges, alleging the top judge tried to help his colleague in one of this year's contested
                 , primary races.

                  Heckert filed complaints against Jackson County Circuit Court Presiding Judge Benjamin Bloom and Judge
                  David Orr, who was disqualified in 2021 from hearing criminal and juvenile cases after a prior presidingjudge
                  found that Orr could not be fair and impartial.

                  While Heckert alleges Bloom violated the judicial code of conduct by vacating the order signed by a
                  predecessor, she believes Orr is in violation for asking Bloom to do it.

                  Heckert sent her complaints to the Commission on Judicial Fitness and Disability, which will review the
                  cases. The commission is in charge of conducting investigations, which are confidential up to a certain point
                  in the process, and could recommend sanctions for Orr and Bloom. Any sanctions must be approved by the
                  Oregon Supreme Court, which could also dismiss the cases.

                  Heckert, who is retiring
                  in January, said she
                  hopes the public
                  doesn't think she is
                  politically motivated in
                  taking action against
                  Bloom and Orr, whose
                  seats are both up for
                  election in separate
                  races.

                  "But I also don't believe
                  that you can just ignore
                  something when you
                  feel like somebody did
                  something improper,"
                  Heckert said.

                  The DA alleges that
                                              Judge Benjamin Bloom is the presiding judge of the Jackson County Circuit Court.
                  Bloom vacated the July      Rogue Valley Times photo by Jamie Lusch
                  2021 order, signed by
                  then-presiding Judge
                  Lorenzo Mejia, as a way to help Orr in his race against Johan Pietila, an attorney for Jackson County.

                  In an interview and news release, Heckert said Bloom told her during a closed-door meeting in October 2023
                  that he wanted to "be supportive" of Orr. Bloom also allegedly told Heckert that he was politically motivated
                  to help Orr, who could face a contested election in which disqualification might become an issue.

                  Days later, Bloom told Heckert he would not be vacating the order, according to the district attorney's news
                  release. Neither of them discussed the decision that time, the release said.

                  But on April 17, Bloom allegedly called Heckert to give her a "heads-up," saying he would vacate the order
                  because of state Senate Bill 807, a law approved in 2023 that changed the disqualification procedure against
                  judges.

                  But to Heckert, that rationale is "a lame excuse," she said in an interview.

                  "If (the new law) was the reason, he would have done it in January," when the law went into effect, Heckert
                  said.

                  In an interview, Heckert questioned Bloom rhetorically on why he vacated the order.



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                  "You say you're doing it because of the law change, when in fact you're doing it to help your colleague-
                  which is politically motivated and not how the court should be operating, in my opinion,'' Heckert said.

                  Bloom, who confirmed he had read Heckert's news release, said in a phone interview Monday that the
                  time line of events is accurate. But he declined to comment further because of the judicial fitness accusations.

                                                                                  "I feel really hindered by that, and I am held to a
                                                                                  different standard than (Heckert) is,'' Bloom
                                                                                  said. "She's the DA, she's allowed to do this, and
                                                                                  that's OK. (But) I can't do that, as a judge."

                                                                                  Orr said in an email Tuesday after reading the
                                                                                  news release that while Heckert is free to make
                                                                                  public statements, he is "substantially
                                                                                  restricted" in making his own because of the
                                                                                  judicial code of conduct.

                                                                                  "I can say that I believe voters have the ability to
                                                                                  assess the motivation and the timing of her
                                                                                  press release," Orr said.

                                                                                  Orr was disqualified from hearing cases brought
                                                                                  by the district attorney's office following a
                                                                                  scathing letter Heckert wrote to Mejia citing five
                                                                                  cases she believed Orr mishandled. Those
                                                                                  included a sex abuse case against a Medford
                                                                                  man in which Orr declared a mistrial in June
                  Judge David Orr of the Jackson County Circuit Court. Photo      2021, despite the jury reaching a verdict on
                  courtesy of Dovid Orr                                           some of the charges.

                                                                                  The jury found David Lee Martin not guilty on
                  three counts of tampering with a witness, but was hung on first-degree sexual abuse and an attempted sexual
                  abuse charge, court records show. Heckert wrote in her letter that Orr believed "he could accept the verdict,
                  but he didn't feel comfortable" doing so.

                  Heckert detailed her concerns about Orr again in late 2022, when she was called to testify as a witness in RISE
                  Law Group of Medford's recusal hearing seeking to remove Orr from 14 family law cases. Judge Pro Tern Paul
                  Moser denied RISE's request to remove Orr.

                  Orr decried district attorneys statewide for "abusing the recusal process to cherry-pick judges'' in written
                  responses to questions regarding his reelection campaign.

                  With his ability to hear criminal cases restored, Orr said he will "continue to require accountability from all
                  parties appearing before me, regardless of who that party may be."

                  Bloom said in an interview that despite his allowing Orr to hear criminal cases again, Orr is still practicing a
                  full-time civil and domestic relations rotation of cases.

                  Heckert said that Bloom assured her last year that if he ever vacated the order, Orr would not take on criminal
                  and juvenile cases.

                  But Heckert said she has her doubts.

                  "I just don't have any faith that that is necessarily going to be true,'' she said. "(Bloom) told me he wasn't
                  going to (vacate the order) at all, and then he changed his mind."

                  Heckert said she does not have any reason to believe Orr's way of handling her cases would change, and she
                  believes she is now in a position where she has to make assumptions about the judge.



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                  If Orr were to ever handle criminal or juvenile cases again, Heckert said her office would have to go forward
                  and work with him to see if he approaches the bench the same way as before.

                  Heckert would not rule out bringing a complaint to disqualify Orr again using the provisions of the new law.

                  "But why should the state, and victims and people in the community be put in the position where we have to
                  do that?" Heckert asked.

                  Reporter Kevin Opsahl can be reached at 458-488-2034 or kopsahl@rv-times.com (mailto:kopsahl@rv-
                  times.com). This story first appeared in the Rogue Valley Times (https://www.rv-times.com/).




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